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   8

   9                        UNITED STATES DISTRICT COURT
  10                       CENTRAL DISTRICT OF CALIFORNIA
  11

  12    THRIVE NATURAL CARE, INC.,         Case No. 2:20-CV-9091-PA-AS
  13                   Plaintiff,          PLAINTIFF THRIVE NATURAL
                                           CARE, INC.’S JOINT MOTION IN
  14          v.                           LIMINE NO. 2 TO PRECLUDE
                                           DEFENDANT FROM OFFERING
  15    THRIVE CAUSEMETICS, INC.,          ARGUMENT REGARDING ITS
                                           “OTHER OVERHEAD”
  16                   Defendant.
                                           Judge: Hon. Percy Anderson
  17                                       Trial Date: Nov. 9, 2021
                                           Hearing Date: Nov. 1, 2021, 1:30 p.m.
  18                                       Courtroom: 9A
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   1                                            TABLE OF AUTHORITIES
   2   Cases
   3   Folkens v. Wyland, No. C-01-1241 EDL, 2002 WL 1677708 (N.D. Cal. July 22,
         2002).................................................................................................................... 5, 6
   4
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   6
       Linares v. Crown Equip. Corp., No. ED-CV-16-1637-JGB-KKX, 2017 WL
   7     10403454 (C.D. Cal. Sept. 13, 2017) .............................................................. 11, 12
       Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400 (9th Cir. 1993) ........................... 4, 5
   8
       Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, 2017 WL 1174756 (S.D.
   9     Cal. Mar. 29, 2017) ............................................................................................... 10
       Stonefire Grill, Inc. v. FGF Brands, Inc., 2013 WL 12126773 (C.D. Cal. June 27,
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   1   I.     INTRODUCTION
   2          The subject matter which Plaintiff Thrive Natural Care, Inc. (“Thrive”) seeks
   3   to exclude in its Motion is: its category of “Other Overhead” costs that Plaintiff
   4   understands will be offered by Karl Schulze and Ned Menninger, and as presented
   5   in its and various revenue documents, including Trial Exhibit 2, 3, and 381.
   6          Alleged prejudice if evidence is not excluded: Thrive asserts the cited
   7   exhibits and argument could confuse and mislead the jury and lead to a clearly
   8   erroneous finding regarding Defendant’s costs and profits with regards to damages.
   9   II.    PLAINTIFF THRIVE’S ARGUMENT
  10          TCI’ expert witness Karl Schulze and TCI’s CFO Menninger both freely
  11   admitted in their depositions: (1) that the costs in the “Sum of Other Overhead”
  12   column of TCI’s revenue spreadsheets is merely every single cost Thrive
  13   Causemetics Inc. incurred in any context whatsoever that is not included elsewhere
  14   in TCI’s revenue document as an identified and deductible cost, and (2) that
  15   numerous categories of traditionally non-deductible costs are indiscriminately
  16   lumped into “Other Overhead”, including, but not limited to: income taxes, all other
  17   taxes paid by TCI, charitable donations, travel, entertainment, legal fees for this
  18   very lawsuit, legal fees for defending against a previous class action lawsuit,
  19   “general administrative costs”, “office expenses”, public relations, all of the
  20   company’ salaries and benefits, research and development costs (R&D), and rent.
  21          Furthermore, TCI has never provided an exhaustive list of every cost
  22   included in “Other Overhead” nor, for the costs it has identified, provided evidence
  23   for what percentage of Other Overhead any given cost is. So, if a single type of cost
  24   was inappropriately included in “Other Overhead”, it would be impossible to know
  25   if that cost was ninety-nine percent of the sum of Other Overhead or one-percent. If
  26   1
         Plaintiff is not requesting that these exhibits be excluded in their entirety, but instead that simply
  27   the columns and data related to “Other Overhead” be excluded: namely the Columns entitled
       “Sum of Other Overhead” and any columns (“Sum of total Costs” and “Sum of net Income”) that
  28   rely on the improper “Sum of Other Overhead” data.
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   1   a single one of those items is not a proper deductible cost, then the entire category
   2   of “Other Overhead” must be excluded since TCI has never met its burden of
   3   presenting evidence as to the amount of percentage of any particular item included
   4   in Other Overhead.
   5           Menninger testified in both his personal deposition and in his 30(b)(6)
   6   capacity as TCI’s CFO, that the “Other Overhead” category of TCI’s cost include a
   7   variety of non-deductible costs, and widely encompasses every single cost incurred
   8   by TCI, that was not already listed elsewhere in TCI’s Revenue Docs. Below are all
   9   excerpts from Menninger’s two depositions regarding “Other Overhead”:
  10
       Q.ꞏ ꞏSo for the other overhead column on this page, what is included in other overhead?
  11   A.ꞏ ꞏIt's all costs -- not specifically identified in the other columns, all costs to operate the
       business.
  12   Q.ꞏ ꞏPlease give me examples of what those costs are.
       A.ꞏ ꞏIt could be rent, travel, the employee costs, public relations, donations.
  13   Q.ꞏ ꞏWhat else?
       A.ꞏ ꞏIt could be -- it would be -- if we had some bank fees or other consulting, other resources,
  14
       customer support vendors, legal -- things like that.
  15   Q.ꞏ ꞏTaxes?
       A.ꞏ ꞏYes, it could.
  16   Q.ꞏ ꞏSo every single cost in any context incurred by Thrive Causemetics that's not already
       allocated to one of these other columns is other overhead; is that correct?
  17   A.ꞏ ꞏYes.
       (Menninger Depo, July 13, 2021, at 49:24-50:19)
  18
       Q.ꞏ ꞏ Okay.ꞏ Sum of Other Overhead.
  19   A.ꞏ ꞏ Other overhead would be every – everything else that hits our income statement.
       Q.ꞏ ꞏ Like what?
  20
       A.ꞏ ꞏ Like rent, salaries, what it costs to operate the business --
  21   Q.ꞏ ꞏ Okay.
       A.ꞏ ꞏ -- that isn't specifically included in these other -- in the other categories.
  22   Q.ꞏ ꞏ Okay.ꞏ And you listed rent, salaries.ꞏ What else appears in sum of other overhead?
       A.ꞏ ꞏ Well, if it were now, it would be legal fees, so anything related to -- that is not specific to
  23   COGS, ad spend, merchant fees, or Shopify.
       Q.ꞏ ꞏ Okay.ꞏ So legal fees, salary, rent.ꞏ What else?
  24
       A.ꞏ ꞏ It would be office -- other office expenses. Generally we would call this general -- general --
  25   G&A, general administrative costs.
       Q.ꞏ ꞏ Would charitable donations be on here?
  26   A.ꞏ ꞏ I -- yes, it would be included in there.
       Q.ꞏ ꞏ Okay.ꞏ What else is included in here?
  27   A.ꞏ ꞏ Travel, entertainment.ꞏ Again, it's all non -- it's any other cost that isn't included in the other
       four categories.
  28
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   1   Q.ꞏ ꞏ I'm just trying to figure out exactly what those are.
       A.ꞏ ꞏ Okay.
   2   Q.ꞏ ꞏ So what else is included there?
       A.ꞏ ꞏ It's going to be -- there -- any sort of professional fees beyond legal, say tax return
   3
       preparation, items like that.ꞏ It would be insurance. Again, all salaries and benefits would be
   4   included in there.ꞏ As you say, the charitable donations would be there.
       Q.ꞏ ꞏ Would taxes be in there?
   5   A.ꞏ ꞏ I'm sorry, say again?
       Q.ꞏ ꞏ Would taxes be in -- like taxes paid by the company?
   6   A.ꞏ ꞏ Yes.
   7   Q.ꞏ ꞏ So income tax is in there?
       A.ꞏ ꞏ Yes.
   8   (30(b)(6) Deposition of TCI’s CFO Ned Menninger, May 27, 2021, 55:23 – 57:14)
   9   Q. So for this entire spreadsheet, what does other overhead mean?
       MS. DE LILLY:ꞏ Objection.ꞏ Calls for a narrative.
  10   THE WITNESS:ꞏ It is the same costs as I explained in -- for color cosmetics, which is salary,
       rents, professional fees, travel and entertainment. They are other general and administrative-type
  11   expenses and all that are non-COGS specific, ad spend, merchant fees and/or -- and including --
  12   that does not include the Shopify fees.
       (Id. 76:8-76:18)
  13
       Q.ꞏ ꞏ Do the Thrive Causemetics' legal fees from the class action lawsuit that was filed against it
  14   appear in the other overhead costs?
       A.ꞏ ꞏ Yes.
  15   Q.ꞏ ꞏ Does Thrive Causemetics have R&D, research and development, costs?
  16   A.ꞏ ꞏ Yes.
       Q.ꞏ ꞏ And do those appear in the other overhead column?
  17   A.ꞏ ꞏ Yes.
       (Id. 82:14-23)
  18
       Q.ꞏ ꞏ Okay.ꞏ And did you donate over $500,000 to these COVID-impacted charitable
  19   organizations in 2020?
  20   MS. DE LILLY:ꞏ Objection.ꞏ Beyond the scope of the witness's designated topics, and any
       answers given are not those of the corporation.ꞏ And asked and answered.
  21   THE WITNESS:ꞏ I don't have the specific amounts in front of me; no, I do not.
       BY MR. McARTHUR:
  22   Q.ꞏ ꞏ But whatever those amounts were, they would appear in other overhead; is that correct?
       A.ꞏ ꞏ Yes.
  23   (Id. 83:23 -84:9)
  24          Likewise, TCI’s expert, Karl Schulze, offered no expert opinion or
  25   methodology of his own regarding “Other Overhead”. Instead, his opinion simply
  26   parrots what TCI’s CFO Ned Menninger asserts. There is no independent analysis
  27   from Mr. Schulze that would constitute an expert opinion with regards to “Other
  28
                                                                            PLAINTIFF’S MTN. IN LIMINE NO. 4
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   1   Overhead”, and thus his opinion must be excluded. Mr. Schulze’s discussion of
   2   Other Overhead in his Report is copied, in full, below:
   3         "I also note that, while Mr. Drews utilized the cost data as provided in the TCI-
   4         produced revenue and expense sheets, he eliminated the category called “Other
             Overhead” from the costs considered. This category would include allocated costs
   5         such as supervisory personnel, managerial oversight, office and facility costs,
             among others, without which the product sales process could not take place. As
   6         testified to by Ned A. Menninger, on behalf of TCI, this category of cost includes
             items such as salary, rents, office expenses and other administrative costs that are
   7         outside of direct cost of goods sold, but that nonetheless contributed to the sales
   8         of the allegedly infringing products. Mr. Menninger noted in his deposition
             testimony that these expenses, as other categories, are allocated to specific
   9         products based on the proportion of units sold of each product during a given
             period. Thus, the allocation of such costs is reasonably tied to the sale of the
  10         allegedly infringing products; it is my opinion that such costs must be included in
             the determination of net profit on the allegedly infringing product sales."
  11         (Schulze Report, p. 6).
  12

  13
             This paragraph is the entirety of Schulze’s expert testimony with regards to

  14
       Other Overhead. Schulze performs no independent analysis and applies no

  15
       scientific methodology. Instead, he simply asserts and concludes that the broad

  16
       category of “Other Overhead”, that includes nebulous costs, are deductible because

  17
       TCI’s CFO said they are. That is not a proper expert opinion.

  18
             The law is clear that “[i]n assessing profits the plaintiff shall be required to

  19
       prove defendant’s sales only; defendant must prove all elements of cost or

  20
       deduction claimed.” 15 U.S.C. § 1117(a). “Once the plaintiff demonstrates gross

  21
       profits, they are presumed to be the result of the infringing activity” and “[t]he

  22
       defendant thereafter bears the burden of showing which, if any, of its total sales are

  23
       not attributable to the infringing activity, and, additionally, any permissible

  24
       deductions for overhead.” Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1408

  25
       (9th Cir. 1993). In the Ninth Circuit, a defendant may only deduct costs if it proves

  26
       such costs were “of actual assistance” in the production, distribution, or sale of the

  27
       infringing product. Kamar Int’l, Inc. v. Russ Berrie & Co., 752 F.2d 1326, 1332

  28
       (9th Cir. 1984). A “pure allocation” of overhead costs based on percentage of
                                                                          PLAINTIFF’S MTN. IN LIMINE NO. 4
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   1   revenue is not permissible and indeed has been “specifically rejected” by the Ninth
   2   Circuit. See Folkens v. Wyland, No. C-01-1241 EDL, 2002 WL 1677708, at *5
   3   (N.D. Cal. July 22, 2002) (citing Frank Music Corp. v. Metro-Goldwyn-Mayer,
   4   Inc., 772 F.2d 505, 516 (9th Cir. 1985) (holding defendants had not met the burden
   5   of proving deductible costs “when they introduced evidence of their total overhead
   6   costs allocated on a reasonable basis” because “[t]hat is not the law of this
   7   circuit.”)). If the defendant fails to adequately prove such costs, the trademark
   8   owner is entitled to all gross profits. Lindy Pen, 982 F.2d at 1408.
   9         Here, there is no dispute as to gross revenues TCI earned through May 2021
  10   on sales of Infringing Skincare Products or direct expenses, including cost of goods
  11   sold, relating to those products. The only dispute is to the broad category of “Other
  12   Costs” that TCI improperly attempts to shoehorn into its profits analysis to make its
  13   profits appear non-existent.
  14         Rather than calculating actual overhead expenses attributable to each
  15   product, TCI has merely allocated a percentage of its total expenses to a product
  16   based on the percentage of revenue that product produced. That is exactly the type
  17   of “pure allocation” rejected in Folkens and Frank. Folkens, 2002 WL 1677708, at
  18   *5; Frank, 772 F.2d at 516 (explaining “defendants offered no evidence of what
  19   costs were included in general categories such as ‘general and administrative
  20   expenses,’ nor did they offer any evidence concerning how these costs contributed
  21   to the [infringing product].”). TCI has completely failed to prove its indirect costs
  22   were “of actual assistance” in the production, distribution, or sale of the Infringing
  23   Skincare Products. See Kamar, 752 F.2d at 1332. Indeed, TCI testified that grouped
  24   in the “Other Costs” category were clearly non-deductible costs such as TCI’s
  25   charitable donations, litigation expenses for a class action lawsuit, and all taxes it
  26   has ever paid.
  27         TCI has not provided any evidence that claimed overhead expenses such as
  28   charitable donations, taxes, entertainment, etc. were “of actual assistance” in the
                                                                    PLAINTIFF’S MTN. IN LIMINE NO. 4
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   1    production, distribution, or sale of the Infringing Skincare Products, as opposed to
   2    the variety of other, non-infringing products TCI sells. See Kamar Int’l, Inc. v. Russ
   3    Berrie & Co., 752 F.2d 1326, 1332 (9th Cir. 1984). TCI dumped 100% of its entire
   4    company’s remaining costs of any type, with zero exceptions, into a bucket it calls
   5    “Other Overhead,” without disclosing precisely what appears in that bucket other
   6    than giving vague examples, and without even a hint as to how much to allocate to
   7    each item. That is fundamentally an improper “pure allocation” of costs, which
   8    should be excluded. See Folkens v. Wyland, No. C-01-1241 EDL, 2002 WL
   9    1677708, at *5 (N.D. Cal. July 22, 2002).
  10          Therefore, this category of “Other Costs”, and all analysis regarding it,
  11    including TCI’s “Total Costs” and “Profits” numbers directly derived from its
  12    “Other Costs” data, must all be excluded in their entirety.
  13   III.   DEFENDANT TCI’S OPPOSITION
  14          Plaintiff’s motion to exclude all evidence and analysis of TCI’s “Other
  15    Overhead” costs should be denied for at least three reasons. First, Plaintiff’s
  16    motion is actually an improper summary judgment motion disguised as a motion in
  17    limine and should be denied on that basis alone. Second, Plaintiff attempts to
  18    exclude evidence that it never solicited, and in any event, all of Plaintiff’s
  19    complaints regarding evidence of TCI’s “Other Costs” go to weight, not
  20    admissibility. Third, the opinions of TCI’s rebuttal expert Karl Schulze are well
  21    within the purview of appropriate rebuttal expert testimony and thus there is no
  22    basis for exclusion.
  23                                            ARGUMENT
  24          A.     Plaintiff’s Motion Improperly Seeks a Summary Judgment Ruling
  25                 on the Sufficiency of TCI’s Calculations of Its Overhead Expenses.
  26          Plaintiff’s motion seeks a determination that TCI’s calculations of its
  27    overhead expenses are insufficient as a matter of law. Indeed, Plaintiff already
  28    attempted similar arguments at summary judgment. In its motion for partial
                                                                      PLAINTIFF’S MTN. IN LIMINE NO. 4
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   1   summary judgment, Plaintiff argued that it was entitled to summary judgment on its
   2   claim for disgorgement of profits because, inter alia, TCI had failed to adequately
   3   prove any deductions from its gross revenues that actually contributed to the
   4   production, distribution, or sale of TCI’s skincare products. See ECF No. 96 at 22-
   5   23. The Court recently determined that triable issues of material fact existed as to
   6   Plaintiff’s claim for disgorgement of profits and denied Plaintiff’s request. ECF
   7   No. 114 at 11. The instant motion in limine is simply a renewed version of the
   8   same arguments Plaintiff advanced at summary judgment, and is therefore
   9   improper. In its Civil Trial Scheduling Order, this Court specifically states that
  10   “[m]otions in limine are not to be used as disguised motions for summary
  11   judgement,” and that “summary judgement motions disguised as motions in limine
  12   will not be heard.” ECF No. 19 at 2, 8. The Court should summarily deny
  13   Plaintiff’s motion on this basis alone.
  14         B.     Plaintiff’s Motion Seeks to Exclude Evidence It Did Not Solicit.
  15         Plaintiff seeks to exclude evidence related to TCI’s “Other Overhead” costs
  16   based on its meritless assertion that TCI’s descriptions of its overhead allocations
  17   are insufficient and would be prejudicial in front of a jury.2 This argument fails for
  18   at least two reasons. First, Plaintiff’s argument rests entirely on the assumption that
  19   TCI’s Chief Financial Officer (“CFO”)Mr. Ned Menninger has no knowledge of
  20   how TCI’s overhead expenses are connected to the production, distribution, or sale
  21   of its skincare products. Plaintiff has no basis for such an assumption, as Plaintiff
  22         2
                The sole prejudice Plaintiff claims is that “the cited exhibits and argument
  23   could confuse and mislead the jury and lead to a clearly erroneous finding regarding
       Defendant’s costs and profits with regards to damages.” Pl.’s Joint Mot. in Limine
  24   at 1. But even at the time Plaintiff drafted its portion of the motion in limine,
       Plaintiff had already conceded that its claim for disgorgement of profits would be
  25   tried to the Court, not to a jury. See ECF No. 106-1, at 1:28-2:4 (“Thrive Natural
       Care’s claim for…disgorgement of profits…[is] equitable and should be tried to the
  26   Court.”); see also ECF No. 107 at 1 n.1 (same). Moreover, in light of the Court’s
       Order granting in part TCI’s motion for summary judgment (ECF No. 114), the
  27   parties agree that the entire case should be tried to the Court. See ECF No. 116.
       The Court will not be misled or confused by TCI’s exhibits and argument regarding
  28   proper deductions for overhead expenses.
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   1   never sought to solicit any such evidence from Mr. Menninger during his
   2   deposition. Plaintiff had two opportunities to depose Mr. Menninger regarding
   3   TCI’s “Other Overhead” expenses, but did not ask Mr. Menninger how certain
   4   categories of costs included in the company’s overhead expended are related to the
   5   production, distribution, or sale of its products. See supra at 2:10 – 3:23. Instead,
   6   Plaintiff only asked Mr. Menninger to identify the types of costs included in TCI’s
   7   overhead expenses, which he did. Furthermore, in his Declaration in Support of
   8   TCI’s Opposition to Plaintiff’s Motion for Partial Summary Judgment, Mr.
   9   Menninger provided summary testimony as to how each category of TCI’s
  10   expenses actually assists in the production, distribution, or sale of TCI’s skincare
  11   products, and he can and will provide this and further testimony respecting these
  12   issues at trial. ECF No. 60-03 at 3-4. Accordingly, there is no basis for Plaintiff’s
  13   motion to exclude testimony by Mr. Menninger on this topic.
  14         None of the cases cited by Plaintiffs stand for the proposition that evidence
  15   of overhead costs can be excluded on the basis of mere insufficiency, as Plaintiff
  16   requests here. An argument of insufficiency goes to the weight of the evidence, not
  17   its admissibility. Equally baseless is Plaintiff’s assertion that “TCI has never met
  18   its burden of presenting evidence as to the amount of percentage of any particular
  19   item included in Other Overhead.” See supra at 2:2-4. As an initial matter, TCI
  20   does not need to “prove [its] overhead expenses and their relationship to the
  21   infringing [product] in minute detail,” it only must explain “at least in general
  22   terms, how claimed overhead actually contributed to the production of the
  23   infringing [product].” See Frank Music Corp. v. Metro-Goldwyn-Mayer, Inc., 772
  24   F.2d 505, 516 (9th Cir. 1985). In any event, TCI has never been required to “[meet]
  25   its burden” in this regard – that is what the trial is for. TCI has previously proffered
  26   certain evidence this regard, and will in all events provide sufficient evidence at
  27   trial tying each category of its overhead costs to the production, distribution, or sale
  28   of its skincare products. There is simply no basis to preclude it from doing so.
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   1         C.     Karl Schulze’s Opinions Constitute Appropriate Rebuttal Expert
   2                Testimony.
   3         Plaintiff seeks to exclude the testimony and opinions of TCI’s damages
   4   expert Karl Schulze on the unfounded basis that Mr. Schulze “simply parrots” Mr.
   5   Menninger’s testimony. See supra at 3:26-27. Plaintiff’s argument misapprehends
   6   the role of a rebuttal expert witness and ignores the sufficient and reliable bases for
   7   all of Mr. Schulze’s opinions. Mr. Schulze was designated as a rebuttal expert
   8   witness to Plaintiff’s putative damages expert David Drews. One purpose of a
   9   rebuttal witness is to point out flaws in the methodology of Plaintiff’s damages
  10   expert’s analysis and to undermine the testimony and opinion of Plaintiff’s expert.
  11   Mr. Schulze’s opinion was entirely within that realm. See Stonefire Grill, Inc. v.
  12   FGF Brands, Inc., 2013 WL 12126773, *3 (C.D. Cal. June 27, 2013).
  13         Furthermore and in any event, Mr. Schulze’s opinions satisfy the
  14   requirements for admissibility of expert testimony under Federal Rule of Evidence
  15   702. Mr. Schulze has specialized knowledge regarding complex business disputes,
  16   economic damages and lost profits claims, and intellectual property infringement
  17   that will help the trier of fact understand the calculation and analysis of damages in
  18   this case; his testimony is based upon all of the financial information produced by
  19   the parties in this action and evidence from relevant witnesses, as well as guidance
  20   from the controlling legal authorities concerning damages in a Lanham Act case;
  21   his testimony is the product of reliable principles and methods in that Mr. Schulze
  22   applied his experience and knowledge of complex business disputes, economic
  23   damages and lost profits claims, intellectual property infringement, lender and
  24   professional liability, employment, personal injury, merger and acquisition matters,
  25   governance, alter ego, fraud and forensic reconstruction, and real estate and
  26   construction disputes, among others; he has reliably applied those principles and
  27   methods in his analysis of Plaintiff’s damages expert’ opinions and conclusions.
  28   See Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, 2017 WL 1174756,
                                                                   PLAINTIFF’S MTN. IN LIMINE NO. 4
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   1   *2 (S.D. Cal. Mar. 29, 2017); see also ECF No. 60-04, Ex. A (Schulze report).
   2         Moreover, contrary to Plaintiff’s suggestion that Mr. Schulze is simply
   3   “parroting” information, Mr. Schulze testified at length in deposition regarding the
   4   types of costs that Mr. Menninger identified as within TCI’s overhead expenses,
   5   and whether, as a damages expert, such costs could be tied to the production,
   6   distribution, and/or sale of products. See, e.g., Decl. of Lauren M. De Lilly in
   7   support of TCI’s Opps. to Pl.’s Mots. in Limine, Ex. C at 31:14-32:16, 44:15-45:2
   8   (charitable contributions), 57:7-18 (taxes). Plaintiff may not like Mr. Schulze’s
   9   testimony, and it may disagree with that testimony (and it will presumably cross-
  10   examine him respecting his opinions), but that is no basis to exclude the testimony.
  11                                         CONCLUSION
  12         Plaintiff’s request is a summary judgment motion in in limine clothing; seeks
  13   to exclude testimony that Plaintiff did not even attempt to solicit during discovery;
  14   goes to the weight appropriately afforded to the evidence, not its admissibility;
  15   baselessly challenges TCI’s expert; and in all events, relies on prejudice (i.e., jury
  16   confusion) that is not even possible. For any and all of these reasons, it should be
  17   denied.
  18   IV.   PLAINTIFF THRIVE’S REPLY
  19         Thrive’s motion is not seeking summary judgment on any issue; it is seeking
  20   to exclude argument and evidence concerning a category of TCI’s purported
  21   deductible expenses that is irrelevant and would waste time and confuse the issues.
  22   As quoted above, Mr. Menninger admitted in deposition that every item in TCI’s
  23   claimed “Other Overhead” expense column was a pure allocation based on the
  24   percentage of revenue earned by that product as compared to all of TCI’s products
  25   as a whole. He testified these costs included an open list of items, some of which
  26   obviously cannot be tied directly to the production, distribution, or sale of TCI’s
  27   skincare products, including charitable donations for COVID relief, income taxes,
  28   bank fees, and unspecified “travel and entertainment.” Mr. Menninger testified
                                                                   PLAINTIFF’S MTN. IN LIMINE NO. 4
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   1   those costs also included legal fees TCI paid to defend a class action lawsuit which
   2   was filed in August 2018, before TCI has stated it released its first skincare product.
   3   See Declaration of Stephen McArthur filed herewith, Ex. A. Simply, TCI cannot
   4   show these costs were “of actual assistance” in the production, distribution, or sale
   5   of the infringing products, as required by the Ninth Circuit. See Kamar, 752 F.2d at
   6   1332. And neither Mr. Menninger nor Mr. Schulze has ever attempted to draw any
   7   connection between these claimed costs and the actual products at issue. TCI should
   8   not be permitted to offer evidence as to costs that it cannot possibly prove are
   9   properly deductible.
  10         With regard to Mr. Schulze, “[a]n expert may not present testimony that
  11   merely ‘parrots’ the opinions of others; however, an expert may appropriately rely
  12   on the opinions of others so long as other evidence supports his opinion, and the
  13   record demonstrates that the expert conducted an independent evaluation of that
  14   evidence.” Linares v. Crown Equip. Corp., No. ED-CV-16-1637-JGB-KKX, 2017
  15   WL 10403454, at *12 (C.D. Cal. Sept. 13, 2017). The facts show that Mr. Schulze’s
  16   testimony is not the product of any “reliable principles and methods” but merely the
  17   product of taking what Mr. Menninger said as true without any confirmation. Mr.
  18   Schulze testified to that repeatedly in his deposition:
  19
             10ꞏ ꞏ ꞏ ꞏ Q.ꞏ ꞏSo have you reviewed a spreadsheet made by
  20         11ꞏ ꞏ Mr. Menninger that lists the costs and revenues and
             12ꞏ ꞏ profits of Thrive Causemetics?
  21
             13ꞏ ꞏ ꞏ ꞏ A.ꞏ ꞏOn product, yes, I -- I have seen them.
  22         14ꞏ ꞏ ꞏ ꞏ Q.ꞏ ꞏBut you have not reviewed the financial
  23
             15ꞏ ꞏ statements or other documents he used to create that
             16ꞏ ꞏ spreadsheet; is that correct?
  24         17ꞏ ꞏ ꞏ ꞏ A.ꞏ ꞏThat's correct.ꞏ I have not gone back to the
  25
             18ꞏ ꞏ source material for those numbers.ꞏ I am relying on
             19ꞏ ꞏ their accuracy.
  26         20ꞏ ꞏ ꞏ ꞏ Q.ꞏ ꞏHave you reviewed any receipts or invoices that
  27
             21ꞏ ꞏ would show that these costs were incurred?
             22ꞏ ꞏ ꞏ ꞏ A.ꞏ ꞏNo.ꞏ
  28
                                                                  PLAINTIFF’S MTN. IN LIMINE NO. 4
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   1

   2   Schulze Depo. at 21:10-22 (emphasis added).

   3
             21ꞏ ꞏ ꞏ ꞏ Q.ꞏ ꞏSo putting aside Mr. Menninger's opinion on
   4         22ꞏ ꞏ what costs are directly and indirectly related, do you
   5         23ꞏ ꞏ have any independent opinion of your own whether these
             24ꞏ ꞏ costs are directly or indirectly related to the sale and
   6         25ꞏ ꞏ production of skin care products?
   7         ꞏ2ꞏ ꞏ ꞏ ꞏ ꞏ ꞏ ꞏTHE WITNESS:ꞏ I can't express an opinion on my
             ꞏ3ꞏ ꞏ own on these particular costs.
   8

   9   Schulze Depo. at 35:21-36:3 (emphasis added).

  10         25ꞏ ꞏ ꞏ ꞏ A.ꞏ ꞏI think you -- you -- I think you asked am I
  11         ꞏ1ꞏ ꞏ relying on Mr. Menninger. Yes, I am relying on
             ꞏ2ꞏ ꞏ Mr. Menninger's characterization of these expenses.
  12         ꞏ3ꞏ ꞏ ꞏ ꞏ Q.ꞏ ꞏWhat support did Mr. Menninger give that these
  13         ꞏ4ꞏ ꞏ expenses are directly related to the sale and production
             ꞏ5ꞏ ꞏ of skin care products?
  14         ꞏ6ꞏ ꞏ ꞏ ꞏ A.ꞏ ꞏOther than the fact that they are allocated to
  15         ꞏ7ꞏ ꞏ each product based on that product's relative volume, I
             ꞏ8ꞏ ꞏ didn't see anything beyond that. But, again, I did see
  16         ꞏ9ꞏ ꞏ from the spreadsheet that they are allocated
  17         10ꞏ ꞏ proportionately.
  18   Schulze Depo. at 45:25-46:10 (emphasis added).
  19         In other words, Mr. Schulze did nothing to draw his own opinion as to
  20   whether “Over Overhead” costs were “of actual assistance” in the production,
  21   distribution, or sale of the infringing skincare products. He just repeated what Mr.
  22   Menninger said. That is not “specialized knowledge”—it is parroting without any
  23   independent evaluation and without any other supporting evidence, and it is thus
  24   inadmissible. See Linares, 2017 WL 10403454, at *12. Because Mr. Schulze has
  25   failed to offer admissible testimony regarding TCI’s purported “Other Overhead”
  26   costs, and TCI failed to tie those costs to production or sale of its skincare products,
  27   the Court should preclude TCI from presenting exhibits or argument regarding
  28
                                                                   PLAINTIFF’S MTN. IN LIMINE NO. 4
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   1   “Other Overhead” costs allegedly being deductible from TCI’s gross profits.
   2

   3   Dated: October 15, 2021              Respectfully submitted,
   4                                         THE MCARTHUR LAW FIRM, PC
   5
                                             By /s/ Stephen McArthur
   6
                                             Stephen C. McArthur
   7                                         Thomas E. Dietrich
   8                                         Attorneys for Plaintiff Thrive Natural Care,
                                             Inc.
   9

  10
       Dated: October 15, 2021               Respectfully submitted,
  11

  12                                         SIDLEY AUSTIN LLP
  13
                                             By /s/ Rollin Ransom
  14
                                             Rollin Ransom
  15
                                             Attorneys for Defendant Thrive Causemetics,
  16                                         Inc.
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                                                                PLAINTIFF’S MTN. IN LIMINE NO. 4
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   1                   ATTESTATION UNDER LOCAL RULE 5-4.3.4
   2         I, Thomas Dietrich, am the ECF User whose ID and password are being used
   3   to file this Stipulation. In compliance with Local Rule 5-4.3.4(a)(2), I hereby attest
   4   that Rollin Ransom has concurred in this filing.
   5

   6   Dated: October 15, 2021                    /s/ Thomas Dietrich
                                                  Thomas Dietrich
   7

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   1                              CERTIFICATE OF SERVICE
   2   Case Name: Thrive Natural Care, Inc. v. Thrive Causemetics, Inc.
       Case No.: 2:20-cv-9091-PA-AS
   3
       IT IS HEREBY CERTIFIED THAT:
   4
              I, the undersigned, declare under penalty of perjury that I am a citizen of the
   5   United States over 18 years of age. My business address is 9465 Wilshire Blvd.,
       Ste. 300, Beverly Hills, CA 90212. I am not a party to the above-entitled action.
   6
                I have caused service of the following documents, described as:
   7
       PLAINTIFF THRIVE NATURAL CARE, INC.’S JOINT MOTION IN
   8   LIMINE NO. 2
   9   on the following parties by electronically filing the foregoing on October 15, 2021,
       with the Clerk of the District Court using its ECF System, which electronically
  10   notifies them.
  11   Rollin Ransom (SBN 196126)                      Attorneys for Defendant
       rransom@sidley.com
  12   Ryan Stasell (SBN 307431)
       rstasell@sidley.com
  13   Paula Salazar (SBN 327349)
       psalazar@sidley.com
  14   SIDLEY AUSTIN LLP
       555 West Fifth St., Ste. 4000
  15   Los Angeles, CA 90013
  16   I declare under penalty of perjury under the laws of the United States of America
       that the foregoing is true and correct.
  17

  18
        Date:     10/15/2021               By: /s/ Thomas Dietrich
  19                                           Thomas Dietrich
  20

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                                                                   PLAINTIFF’S MTN. IN LIMINE NO. 4
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